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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                            No. 17-722V
                                    Filed: September 23, 2019
                                          UNPUBLISHED


                                                                    Special Master Horner
    LINDA CHEN, parent of K.N., a minor,

                         Petitioner,                                Interim Attorneys’ Fees and
    v.                                                              Costs Decision; Excessive
                                                                    Billing
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

           DECISION AWARDING INTERIM ATTORNEYS’ FEES AND COSTS 1

        On May 31, 2017, petitioner filed a claim filed on behalf of her minor daughter,
K.N., for compensation pursuant to the National Vaccine Injury Compensation Program.
42 U.S.C. §§ 300aa-10 to 34 (2012). The petition alleged that K.N. suffered from a
neurological demyelinating disorder as a result of her receipt of a Tetanus-diphtheria-
acellular pertussis (“Tdap”) vaccine on June 7, 2014. (Pet., p. 1.)

        On June 14, 2019, petitioner filed a motion for Interim Attorneys’ Fees and Costs.
(ECF No. 46.) Petitioner requested $29,130.80 in interim attorneys’ fees and $9,130.96
in interim attorneys’ costs, for a total request of $38,261.76. (Id. at 1-2.)

         On June 17, 2019, respondent filed a response to petitioner’s motion, stating
that, “[r]espondent defers to the Special Master to determine whether or not petitioner
has met the legal standard for an interim fees and costs award as set forth in Avera v.

1  Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E -Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.


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HHS and the statutory requirements for an award of attorney’s fees and costs under 42
U.S.C. §§ 300aa-15(e)(1)(A)-(B).”2 (ECF No. 47, p. 2 (citations omitted).) Respondent
requested the special master exercise his discretion and determine a reasonable award
for interim attorneys’ fees and costs. (Id. at 3.)

      On August 28, 2019, this case was reassigned to my docket. (ECF No. 49.)
This matter is now ripe for consideration.

      I.      DISCUSSION

      A. Entitlement to Fees Under the Vaccine Act

        Section 15(e)(1) of the Vaccine Act allows for the special master to award
“reasonable attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are
entitled to an award of reasonable attorneys' fees and costs if they are entitled to
compensation under the Vaccine Act, or, even if they are unsuccessful, if the special
master finds that the petition was filed in good faith and with a reasonable basis. Avera
v. Sec'y of Health & Human Servs., 515 F.3d 1343, 1352 (Fed. Cir. 2008).

              a. Interim Fee Awards are Appropriate Under the Vaccine Act

        The Federal Circuit has concluded that interim fee awards are permissible and
appropriate under the Vaccine Act. Shaw v. Sec’y of Health & Human Services, 609
F.3d 1372 (Fed. Cir. 2010); Avera, 515 F.3d at 1352. In Avera, the Federal Circuit
stated, “[i]nterim fees are particularly appropriate in cases where proceedings are
protracted and costly experts must be retained.” Id. In denying an interim fee award,
the Avera court reasoned, “The amount of fees here was not substantial; appellants had
not employed any experts; and there was only a short delay in the award pending the
appeal.” Id. In Shaw, the Federal Circuit clarified that “where the claimant establishes
that the cost of litigation has imposed an undue hardship and there exists a good faith
basis for the claim, it is proper for the special master to award interim attorneys’ fees.”
609 F.3d at 1375.

              b. Interim Fees are Appropriate in this Case

        Petitioners are entitled to a presumption of good faith. Grice v. Sec’y of Health &
Human Servs., 36 Fed. Cl. 114, 121 (1996). There is no evidence that this petition was
brought in bad faith. Petitioner filed medical records that provide some objective
evidence supporting her claim along with an expert report. Upon review of these
submissions, I find that petitioner met the good faith and reasonable basis
requirements. Moreover, respondent did not raise any specific objections to an award
of interim attorneys’ fees and costs at this time. Additionally, this case has been
pending for over two years without any immediate resolution of entitlement expected
and the total amount requested for attorneys’ fees and costs are not insignificant,


2   Referencing Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343 (Fed. Cir. 2008).

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totaling more than $30,000. Therefore, I find that an award of interim attorneys’ fees
and costs is reasonable at this juncture.

   B. Reasonableness of Requested Attorneys’ Fees and Costs

        The Federal Circuit has approved the lodestar approach to determine reasonable
attorneys’ fees and costs under the Vaccine Act. Avera, 515 F.3d at 1347. This is a
two-step process. Id. at 1347-48. First, a court determines an “initial estimate . . . by
‘multiplying the number of hours reasonably expended on the litigation times a
reasonable hourly rate.’” Id. (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).
Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348.

          a. Reasonable Attorneys’ Fees

        It is “well within the special master’s discretion” to determine the reasonableness
of fees. Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521-22 (Fed. Cir.
1993); see also Hines v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991)
(“[T]he reviewing court must grant the special master wide latitude in determining the
reasonableness of both attorneys’ fees and costs.”). Applications for attorneys’ fees
must include contemporaneous and specific billing records that indicate the work
performed and the number of hours spent on said work. See Savin v. Sec’y of Health &
Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Such applications, however, should not
include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). Special
masters can reduce a fee request sua sponte, without providing petitioners notice and
opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 102 Fed. Cl.
719, 729 (2011).

              i. Hourly Rates

        A reasonable hourly rate is “the prevailing market rate defined as the rate
prevailing in the community for similar services by lawyers of reasonably comparable
skill, experience, and reputation.” Avera, 515 F.3d at 1348 (citation and quotation
omitted). In Avera, the Federal Circuit found that in Vaccine Act cases, the special
master should use the forum rate, i.e., the DC rate, in determining an award of
attorneys’ fees unless the bulk of the work is completed outside of the District of
Columbia and there is a “very significant difference” between the forum hourly rate and
the local hourly rate. 515 F.3d at 1349 (citing Davis County Solid Waste Mgmt. &
Energy Recovery Spec. Serv. Dist. v. U.S. Envtl. Prot. Agency, 169 F.3d 755 (D.C. Cir.
1999)).

       The decision in McCulloch provides a further framework for consideration of
appropriate ranges for attorneys’ fees based upon the experience of the practicing
attorney. McCulloch v. Sec’y of Health & Human Servs., No. 09-293V, 2015 WL
5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1, 2015), motions for recons. denied, 2015


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WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The Office of Special Masters has
subsequently updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015-2016, 2017, 2018, and 2019 can be accessed online.3

        Based on my experience and review of the billing records submitted by petitioner,
I find petitioner’s attorneys’ fees rates to be acceptable and in conformance with what
the other special masters have awarded Conway Homer firm attorneys, law clerks, and
paralegals and in accordance with the Office of Special Masters Attorneys’ Forum
Hourly Rate Fee Schedules.

            ii.     Hours Expended

         Special masters may rely on their experience with the Vaccine Program to
determine the reasonable number of hours expended. Wasson v. Sec’y of Health &
Human Servs., 24 Cl. Ct. 482, 484 (1991), rev’d on other grounds and aff’d in relevant
part¸ 988 F.2d 131 (Fed. Cir. 1993). Special masters have previously reduced the fees
paid to petitioners due to excessive and duplicative billing. See Ericzon v. Sec’y of
Health & Human Servs., No. 10-103V, 2016 WL 447770 (Fed. Cl. Spec. Mstr. Jan. 15,
2016) (reduced overall fee award by 10 percent due to excessive and duplicative
billing); Raymo v. Sec’y of Health & Human Servs., No. 11-654V, 2016 WL 7212323
(Fed. Cl. Spec. Mstr. Nov. 2, 2016) (reduced overall fee award by 20 percent), mot. for
rev. denied, 129 Fed. Cl. 691 (2016). Special masters have also previously noted the
inefficiency that results when cases are staffed by multiple individuals and have reduced
fees accordingly. See Sabella, 86 Fed. Cl. at 209. Additionally, special masters have
previously found it reasonable to reduce the fees paid to petitioners due to billing for
intra-office communication. Soto v. Sec’y of Health & Human Servs., No. 09-897V,
2011 WL 2269423, at *6 (Fed. Cl. Spec. Mstr. June 7, 2011); Carcamo v. Sec’y of
Health & Human Servs., No. 97-483V, 2011 WL 2413345, at *7 (Fed. Cl. Spec. Mstr.
May 20, 2011).

       After reviewing the billing records, I find that counsel included entries that are
duplicative due to attorneys, law clerks, and paralegals billing for attending the same
case meetings/conferences, communicating with each other regarding the same
matters, and reviewing the same email/court order.4 Additionally, I find it excessive for


3 The 2015–2016 Fee Schedule can be accessed at:
http://www.cofc.uscourts.gov/sites/default/files/Attorneys -Forum-Rate-Fee-Schedule2015-2016.pdf. The
2017 Fee Schedule can be accessed at: http://www.cofc.uscourts.gov/sites/default/files/Attorneys -Forum-
Rate-Fee-Schedule-2017.pdf. The 2018 Fee Schedule can be accessed at:
http://www.cofc.uscourts.gov/sites/default/files/Attorneys%27%20Forum%20Rate%20Fee%20Schedule
%202018.pdf. The 2019 Fee Schedule can be accessed at:
http://www.cofc.uscourts.gov/sites/default/files/Attorneys%27%20Forum%20Rate%20Fee%20Sch edule
%202019.pdf. The hourly rates contained within the schedules are derived from the decision in
McCulloch, 2015 WL 5634323.

4There were duplicative billing for intra-office meetings and intra-office communications on April 25, 2017,
June 9, 2017, August 8, 2017, August 21, 2017, September 15, 2017, September 28, 2017, November 2,
2017, November 17, 2017, November 29, 2017, March 12, 2018, March 14, 2018, March 15, 2018, March

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two attorneys to draft and edit the same one-page motions for extension of time and to
conduct research regarding reasonable expert fees.5 For duplicative entries, time
billed at the lower rate was deducted and for excessive entries, only time billed from
Christina Ciampolillo, the lead attorney, was awarded. These duplicative and
excessive billing entries result in a reduction of $715.90 of the interim fee award.

             b. Reasonable Attorneys’ Costs

        Attorneys’ costs must be reasonable as well. See Perreira v. Sec’y of Health &
Human Servs., 27 Fed. Cl. 29, 34 (1992) (“The conjunction ‘and’ conjoins both
‘attorneys’ fees’ and ‘other costs’ and the word ‘reasonable’ necessarily modifies both.
Not only must any request for reimbursement of attorneys’ fees be reasonable, so also
must any request for reimbursement of costs.”).

       Petitioner requests a total of $9,130.96 in attorneys’ costs. This amount includes
the cost of obtaining medical records and articles, postage, the Court’s filing fee, and
work performed by Dr. Robert T. Stone at an hourly rate of $400. (ECF No. 46, Tab B.)
Petitioner have provided adequate documentation supporting the requested costs and
all appear reasonable in my experience.

      II.    CONCLUSION

      In light of the above, petitioner’s application for interim attorneys’ fees and costs
is GRANTED with reductions as follows:

    Interim Attorneys’ Fees Requested                                     $29,130.80
    (Reduction of Interim Fees)                                           -($715.90)
    Total Interim Attorneys’ Fees Awarded                                 $28,414.90

    Interim Attorneys’ Costs Requested                                    $9,130.96
    Total Interim Attorneys’ Costs Awarded                                $9,130.96

    Total Interim Attorneys’ Fees and Costs                               $37,545.86

       Accordingly, petitioner is awarded $37,545.86, representing $28,414.90 in interim
attorneys’ fees and $9,130.96 in interim attorneys’ costs, in the form of a check made
payable jointly to petitioner and Conway Homer, PC.




16, 2018, March 19, 2018, April 26, 2018, May 22, 2018, June 5, 2018, June 19, 2018, August 15, 2018,
September 12, 2018, and March 26, 2019. This results in an initial reduction of $506.00.

5There were excessive billing entries for time billed for on February 13, 2018, September 10, 2018,
March 19, 2019, May 6, 2019, and May 8, 2019. This results in a reduction of $209.90.


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       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.6


IT IS SO ORDERED.

                                                          s/Daniel T. Horner
                                                          Daniel T. Horner
                                                          Special Master




6Entry of judgment can be expedited by each party’s filing of a notice renounc ing the right to seek review.
Vaccine Rule 11(a).

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